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 3   2500 Tulare Street
     Fresno, California 9372l
 4   Telephone: (559) 497-4000

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 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          )       1:10-cr-00379 AWI
                                        )
12                                      )
                    Plaintiff,          )
13                                      )
          v.                            )       STIPULATION RE:
14                                      )       CONTINUANCE AND ORDER
                                        )
15                                      )
     OLEGARIO AGUIRRE,                  )
16                                      )
                                        )
17                                      )
                    Defendant.          )
18   ___________________________________)

19        Defendant OLEGARIO AGUIRRE, by and through his attorney,

20   CAROLYN PHILLIPS, and the United States of America, by and through

21   its attorneys, BENJAMIN B. WAGNER, United States Attorney, and

22   KAREN A. ESCOBAR, Assistant United States Attorney, hereby enter

23   into the following stipulation:

24        1.   The parties to the above-captioned matter agree to vacate

25   the current sentencing hearing date of May 9 and reset the hearing

26   for May 16 at 9:00 a.m.

27        2. The parties stipulate that the continuance is necessitated

28   by the unavailability of the government’s attorney due to recent

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 1   knee replacement surgery.

 2   DATED: May 4, 2011                          Respectfully submitted,

 3                                               BENJAMIN B. WAGNER
                                                 United States Attorney
 4
                                                 By: /s/ Karen A. Escobar
 5                                                 KAREN A. ESCOBAR
                                                 Assistant U.S. Attorney
 6

 7                                                 /s/ Carolyn Phillips
                                                   CAROLYN PHILLIPS
 8                                                 Attorney for Defendant
                                                   OLEGARIO AGUIRRE
 9
                                   O R D E R
10
          Having read and considered the foregoing stipulation,
11
          IT IS THE ORDER of the Court that the current sentencing
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     hearing date of May 9, 2011, is hereby vacated and is reset for
13
     May 16, 2011, at 9:00 a.m.
14
     IT IS SO ORDERED.
15

16   Dated:      May 4, 2011
     0m8i78                        CHIEF UNITED STATES DISTRICT JUDGE
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